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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                       )
CHILDREN WITHOUT BORDERS, INC.                         )
A Massachusetts Corporation,                           )
                                                       )
                       Plaintiff,                      )
                                                       )
                 v.                                    )
                                                       )    No.     1:10-cv-10362-RWZ
MÉDECINS SANS FRONTIÈRES                               )
d/b/a DOCTORS WITHOUT BORDERS                          )
                                                       )
                       Defendant.                      )    Judge Rya W. Zobel
                                                       )
MÉDECINS SANS FRONTIÈRES USA, INC. and                 )
BUREAU INTERNATIONAL DE MÉDECINS                       )
SANS FRONTIÈRES                                        )
                                                       )
                       Counterclaim Plaintiffs,        )
                                                       )
                 v.                                    )
                                                       )
CHILDREN WITHOUT BORDERS, INC.                         )
                                                       )
                       Counterclaim Defendant.         )
                                                       )

                                    NOTICE OF WITHDRAWAL

        Pursuant to District of Massachusetts Local Rule 83.5.2C, I, Peter J. Hamilton II, hereby

withdraw my appearance from the above-captioned matter. Children Without Borders, Inc. has

retained attorneys from the firm of Ropes & Gray to represent it in the above-captioned matter,

and those attorneys have entered their appearances in the above-captioned matter. This change

will not materially affect the posture of this case.




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                                                  Respectfully submitted,


                                                  /s/ Peter J. Hamilton II
                                                  Peter J. Hamilton II (BBO # 673070)
                                                  11 Lamppost Drive
                                                  Halifax, Massachusetts 02338
                                                  (781) 754-0825

Dated: August 12, 2011

                                CERTIFICATE OF SERVICE

I hereby certify that on August 12, 2011, the foregoing Notice of Withdrawal was served by ECF

upon all attorneys of record:

                                                  /s/ Peter J. Hamilton II
                                                  Peter J. Hamilton II




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